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     Attorneys for Defendants and Counterclaimants
 8   YOUTUBE, LLC and GOOGLE LLC
 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12   MARIA SCHNEIDER, UNIGLOBE                        )   CASE NO.: 3:20-cv-04423-JD
     ENTERTAINMENT, LLC, and AST                      )
13   PUBLISHING LTD., individually and on behalf      )   DECLARATION OF JOANNE SUK
     of all others similarly situated,                )   IN SUPPORT OF YOUTUBE, LLC
14                                                    )   AND GOOGLE LLC’S MOTION
                                                      )   FOR SUMMARY JUDGMENT AS
15                 Plaintiffs,                        )
                                                      )   TO PLAINTIFF MARIA
16          v.                                        )   SCHNEIDER
                                                      )
17   YOUTUBE, LLC and GOOGLE LLC,                     )   Date:        October 13, 2022
                                                      )   Time:        10:00 am
18                 Defendants                         )   Courtroom:   11
                                                      )   Judge:       Hon. James Donato
19                                                    )
                                                      )
20                                                    )
     YOUTUBE, LLC and GOOGLE LLC,                     )
21                                                    )
                   Counterclaimants,                  )
22                                                    )
            v.                                        )
23                                                    )
                                                      )
24   PIRATE MONITOR LTD, PIRATE MONITOR               )
     LLC, and GÁBOR CSUPÓ,                            )
25                                                    )
                   Counterclaim Defendants.           )
26                                                    )
27

28
     DECLARATION OF JOANNE SUK ISO                                     CASE NO. 3:20-CV-04423-JD
     YOUTUBE, LLC AND GOOGLE LLC’S MOTION
     FOR SUMMARY JUDGMENT AS TO PLAINTIFF
     MARIA SCHNEIDER
        Case 3:20-cv-04423-JD Document 164-2 Filed 08/26/22 Page 2 of 4



 1          I, Joanne Suk, declare as follows:

 2          1.      I am currently Director, Music Publishing Business Development for Defendant

 3   Google LLC and its subsidiary YouTube, LLC (collectively “YouTube”). I am familiar with

 4   YouTube’s practices regarding licensing of musical works. I have personal knowledge of the

 5   facts set forth herein and, if called as a witness, I could and would testify competently to them.

 6          2.      Videos that appear on YouTube may include music in various forms, such as

 7   music videos or tracks uploaded by copyright owners, user-uploaded video footage of someone

 8   playing an instrument or singing, or a homemade video of a non-musical event with a

 9   commercial sound recording used as background music. These uses of music can implicate

10   copyrights for two distinct works: the musical work, which is the underlying composition of

11   musical notes and sometimes accompanying lyrics, and the sound recording, which is a

12   particular rendition of a musical work fixed in a phonorecord. Licensing of musical works

13   created by songwriters is generally administered by music publishers, who enter into

14   arrangements with songwriters to own or license musical works on their behalf. Licensing of

15   sound recordings is typically handled by record labels, who enter into arrangements with

16   performing artists to own sound recordings or license them on artists’ behalf.

17          3.      YouTube devotes substantial resources to ensuring that copyrighted material

18   appearing on its service is there with the authorization of copyright holders. YouTube has a long

19   history of entering into direct licenses with the music industry, including with all of the major

20   record labels (UMG, Sony, Warner Music Group) for licenses covering sound recordings, and all

21   of the major music publishers (Sony, Warner Chappell, and UMPG) for licenses covering

22   musical works. YouTube typically enters into broad licenses for musical works with music

23   publishers allowing use of their entire catalogs of musical works on YouTube, which typically

24   include works by hundreds or thousands of individual songwriters. These licenses generally

25   cover various rights, including the rights to reproduce, distribute, and make derivative works. I

26   have personally been involved in licensing negotiations with a host of music publishers since I

27   joined YouTube in 2016. YouTube currently has license agreements with hundreds of music

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     DECLARATION OF JOANNE SUK ISO                      -1-                    CASE NO. 3:20-CV-04423-JD
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 1   publishers, including the three major publishers as well as many independent publishers, such as

 2   “A” Side Music LLC d/b/a Modern Works Music Publishing (“Modern Works”).

 3          4.      Attached as Exhibit 1 is a true and correct copy of the 2014 Publishing License

 4   Agreement (“PLA”) between Google and Modern Works. The PLA is a full catalog license that

 5   includes all compositions “owned or controlled” by Modern Works. Ex. 1, at 11. That is, Modern

 6   Works licensed Google and its affiliates to use any musical work that Modern Works had the

 7   right to license. Under the PLA, Modern Works granted Google a “license[] to (i) Store,

 8   Reformat, make On-Demand Streams of, make Conditional Downloads of, and Display

 9   Publisher Compositions . . . and to make available Publisher Compositions on and through the

10   Google Services and Embedded YouTube Video Players;” and to “(ii) reproduce, distribute, and

11   prepare derivative works (including synchronization rights) based upon the Publisher

12   Compositions,” in exchange for royalty payments from Google. Ex, 1, § 2(a). As reflected in the

13   PLA, Modern Works represented and warranted that it had “full power and authority to enter into

14   the [PLA],” that it possessed “all rights, authorizations, and licenses” required for it to perform

15   its obligations, and that YouTube’s use of musical works owned or controlled by Modern Works

16   “does not infringe any third party right, including rights arising from contracts between [Modern

17   Works] and third parties[].” Ex. 1, § 6. The PLA automatically renews every three months after

18   an initial term of four years, and to my knowledge it is still in force today. See Ex. 1, § 10(a).

19          5.      YouTube has entered into licenses with performing rights organizations (“PROs”)

20   including the American Society of Composers, Authors, and Publishers (“ASCAP”) and

21   Broadcast Music Inc. (“BMI”), entities that issue blanket public performance licenses for all

22   works of their members.

23          I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct. Executed this 26th day of August 2022, at Los Angeles, California.

25                                                                  /s/ Joanne Suk
                                                                    Joanne Suk
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     DECLARATION OF JOANNE SUK ISO
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 1                                   ATTORNEY ATTESTATION

 2          I, David H. Kramer, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the concurrence

 4   in the filing of this document has been obtained from the signatory.

 5                                                               /s/ David H. Kramer

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     DECLARATION OF JOANNE SUK ISO
     YOUTUBE, LLC AND GOOGLE LLC’S MOTION              -3-                  CASE NO. 3:20-CV-04423-JD
     FOR SUMMARY JUDGMENT AS TO PLAINTIFF
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